      Case 5:22-cv-00054 Document 7 Filed on 08/03/22 in TXSD Page 1 of 2
                                                                                United States District Court
                                                                                  Southern District of Texas
                       UNITED STATES DISTRICT COURT                                  ENTERED
                        SOUTHERN DISTRICT OF TEXAS                                 August 03, 2022
                             LAREDO DIVISION                                      Nathan Ochsner, Clerk


FAIRPORT ASSET MANAGEMENT §
II REO, LLC,              §
                          §
        Plaintiff,        §
                          §
VS.                       §                        CIVIL ACTION NO. 5:22-CV-54
                          §
ROSA MARIA GONZALEZ a/k/a §
ROSEMARY GONZALEZ,        §
                          §
        Defendant.        §

                                         ORDER

       Plaintiff has filed a notice of voluntary dismissal (Dkt. No. 6). Under Rule

41(a)(1)(A)(i), if a plaintiff files a notice of dismissal before the opposing party files an

answer or motion for summary judgment, the claims can be dismissed without a court

order. See Fed. R. Civ. P. 41(a)(1)(A)(i); Welsh v. Correct Care, L.L.C., 915 F.3d 341,

343 (5th Cir. 2019). However, such dismissals are subject to limitations in class action

suits, shareholder derivative suits, and suits where the Court has appointed a

receiver. Id. None of those limitations apply here. Thus, because the Plaintiffs filed

the notice before Defendant served an answer or a motion for summary judgment, all

of Plaintiffs’ claims against Defendant were automatically dismissed without

prejudice upon the notice’s filing. See In re Amerijet Int’l, Inc., 785 F.3d 967, 973 (5th

Cir. 2015), as revised (May 15, 2015) (“The notice of dismissal is self-effectuating and

terminates the case in and of itself; no order or other action of the district court is

required.”).
     Case 5:22-cv-00054 Document 7 Filed on 08/03/22 in TXSD Page 2 of 2

     Accordingly,   Plaintiff’s   claims   against   Defendant   are   DISMISSED

WITHOUT PREJUDICE. All relief not previously granted is DENIED. The Clerk

of Clerk is DIRECTED to TERMINATE this civil action.

     It is so ORDERED.

     SIGNED August 3, 2022.

                                           _______________________________
                                           Marina Garcia Marmolejo
                                           United States District Judge




                                           2
